  Case 2:20-cv-04215-JWH-JPR Document 18 Filed 09/18/20 Page 1 of 2 Page ID #:44

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES – GENERAL

 Case No.       CV 20-04215-CJC (JPRx)                                 Date       September 18, 2020
 Title          Ana Avila et al v. Trinet HR XI Inc., et al


 Present: The Honorable         CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
                    Cheryl Wynn                                           None Present
                    Deputy Clerk                                          Court Reporter
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                    None Present                                          None Present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                          LACK OF PROSECUTION

        It is a plaintiff's responsibility to prosecute its case diligently. That includes timely serving the
complaint and filing a proof of service. Absent a showing of good cause, “[i]f a defendant is not served
within 90 days after the complaint is filed, the court . . . must dismiss the action.” Fed. R. Civ. P. 4(m).
Here, 90 days have passed since Plaintiff filed the Complaint, yet no proof of service has been filed as
to Defendant Magnolia Hospitality Group, Inc.. Accordingly, the Court, on its own motion, hereby
ORDERS Plaintiff to show cause in writing no later than September 25, 2020 why this Defendant
should not be dismissed for lack of prosecution. As an alternative to a written response by Plaintiff, the
Court will consider as an appropriate response to this OSC the filing of one of the following on or before
the above date:

    1. A Notice of Voluntary Dismissal (Fed. R. Civ. P. 41) as to Magnolia Hospitality Group, Inc., or

    2. A Proof of Service of the Summons and Complaint. However, if the deadline to answer has
       passed by the time Plaintiff files the proof of service, the response to this Order will be deemed
       sufficient only if one of the following is also filed:

         a. Plaintiff's Request for Entry of Default as to Magnolia Hospitality Group, Inc. or
            Defendant’s Answer,

         b. A stipulation extending Defendants’ time to respond to the Complaint that complies with
            Local Rule 8.3, or

         c. A Notice of Voluntary Dismissal (Fed. R. Civ. P. 41) as to Magnolia Hospitality Group,
            Inc..

        No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a timely and appropriate response. Failure to respond
to this Order may result in dismissal.
                                                                                        -        :        -

CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                   Page 1 of 1
  Case 2:20-cv-04215-JWH-JPR Document 18 Filed 09/18/20 Page 2 of 2 Page ID #:45

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES – GENERAL

 Case No.       CV 20-04215-CJC (JPRx)                               Date   September 18, 2020
 Title          Ana Avila et al v. Trinet HR XI Inc., et al


                                                      Initials of Deputy    cw
                                                      Clerk




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                        Page 2 of 1
